



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				Shawn
      Fishburne, Appellant
				v.
				State of South
      Carolina, Respondent
			
		
	


Appeal From Richland County
Alison Renee Lee, Circuit Court Judge
Unpublished Opinion No. 2009-UP-549
Submitted November 2, 2009  Filed
  November 23, 2009
AFFIRMED


	
		
			
				Shawn Fishburne, pro se, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, and
  Assistant Attorney Brian&nbsp; Petrano, all of Columbia, for Respondent.
			
		
	

PER CURIAM: Shawn
  Fishburne appeals the dismissal of his
  petition for writ of habeas corpus.&nbsp; We affirm[1] pursuant to Rule 220(b), SCACR, and the following authorities: S.C.
  Code § 17-27-20(b) (2003) (explaining the &nbsp;Uniform Post-Conviction Procedure Act
  (the Act) "comprehends and takes the place of all other common law,
  statutory or other remedies heretofore available for challenging the validity
  of the conviction or sentence," and provides the Act "shall be used
  exclusively in place of them."); State v. Gentry, 363 S.C. 93, 101,
  610 S.E.2d 494, 499&nbsp;(2005) (finding subject matter jurisdiction and the
  sufficiency of the indictment are two distinct concepts); Simpson v. State,
  329 S.C. 43, 46, 495 S.E.2d 429, 431&nbsp;(1998) (explaining habeas corpus is
  available only after the petitioner has exhausted all post-conviction remedies
  and habeas corpus cannot be used as a substitute for appeal or as a remedial
  procedure for the correction of errors for which a criminal defendant had an
  opportunity to avail himself); Keeler v. Mauney, 330 S.C. 568, 571, 500
  S.E.2d 123, 124 (Ct. App. 1998) ("A person is procedurally barred&nbsp; from
  petitioning the circuit court for a writ of habeas corpus where the matter
  alleged is one which could have been raised in a PCR application.").
AFFIRMED.
SHORT,
  THOMAS, and KONDUROS, JJ., concur. 


[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

